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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

RM HOLDCO, LLC., et al.,                                      Case No. 18-11795 (MFW)

                       Debtors.                               (Jointly Administered)


                                   REQUEST FOR NOTICES


        PLEASE TAKE NOTICE that Kohner, Mann & Kailas, S.C. (“KMK”) is counsel for
Ecolab Inc., a creditor or party in interest in the case of RM HOLDCO, LLC, et al. KMK
requests that it receive, in addition to notice of matters set forth in Rule 2002, all notices issued
in the above captioned case after the date of this Notice; and KMK further requests a copy of all
documents filed in the above captioned case after the date of this Notice, including but not
limited to motions and other pleadings, stipulations, settlement agreements or orders of any kind.

         KMK further requests that the Debtor and Clerk of the United States Bankruptcy Court
place the following name and address on the master mailing matrix and any abbreviated service
list in the above captioned proceeding:

                       Kohner, Mann & Kailas, S.C.
                       Attn: Samuel C. Wisotzkey
                       Washington Building
                       Barnabas Business Center
                       4650 North Port Washington Road
                       Milwaukee, WI 53212-1059
                       swisotzkey@kmksc.com

         Dated: August 31, 2018
                                              KOHNER, MANN & KAILAS, S.C.
                                              Attorneys for Ecolab Inc.


                                              By:    /s Samuel C. Wisotzkey
                                                     SAMUEL C. WISOTZKEY
                                              Washington Building
                                              Barnabas Business Center
                                              4650 North Port Washington Road
                                              Milwaukee, WI 53212-1059
                                              Telephone (414) 962-5110
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                                CERTIFICATE OF SERVICE


The undersigned hereby certifies that on August 31, 2018, he caused the foregoing to be
electronically filed with the Clerk of the Court using the ECF system that will send notification
of such filing to the parties indicated on the Notice of Electronic Filing.



                                             By:    /s Samuel C. Wisotzkey
                                                    SAMUEL C. WISOTZKEY
                                             KOHNER, MANN & KAILAS, S.C.
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